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  6   DEPARTMENT, MONICA QUIJANO, RICHARD TAMEZ and
      SCOTT SMITH
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  8
                                  UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
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      LUIS LORENZO VARGAS,                        CASE NO. CV16-08684 SVW (AFMx)
 12                                               Hon. Stephen V. Wilson, Ctrm. 10A
                                                  Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.
 13                  Plaintiff,
                                                  DEFENDANTS’ OPPOSITION TO
 14         v.                                    PLAINTIFF’S MOTION IN LIMINE
                                                  NO. 1; MEMORANDUM OF POINTS
 15                                               AND AUTHORITIES, DECLARATION
      CITY OF LOS ANGELES, et al.                 OF GEOFFREY PLOWDEN;
 16                                               EXHIBITS
                     Defendants.
 17                                               Hearing: 6/10/19
                                                  Time:        1:30 p.m.
 18                                               Place:       Courtroom 10A
                                                  First Street Courthouse
 19                                               350 West 1st Street
                                                  Los Angeles, CA 90012-4565
 20
 21              TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL
 22   FO RECORD:
 23              Defendants submit the following opposition to Plaintiff’s Motion in Limine
 24   No. 1 to allow evidence of the reversal of plaintiff’s conviction and finding of factual
 25   innocence (in phase one) of the trial.
 26              The Court has already ruled such evidence will not be allowed during phase
 27   one of the trial. Plaintiff’s motion is an impermissible motion for reconsideration of
 28   that ruling. (Doc. 158, Order Granting Defendants’ Motion in Limine No. 1.)
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  1            This opposition is based on the accompanying Memorandum of Points and

  2   Authorities, the accompanying Declaration of Geoffrey Plowden (“Plowden Decl.”)

  3   and exhibits, as well as the Court’s files and records herein.

  4
      Dated: May 20, 2019        MICHAEL N. FEUER, City Attorney
  5                              JAMES P. CLARK, Chief Deputy City Attorney
                                 CORY M. BRENTE, Assistant City Attorney
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                                 By:    /s/ Geoffrey Plowden
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                                                                        .




                                  GEOFFREY PLOWDEN, Deputy City Attorney
  8                              Attorneys for Defendants CITY OF LOS ANGELES,
                                 LOS ANGELES POLICE DEPARTMENT,
  9                              MONICA QUIJANO, RICHARD TAMEZ and
                                 SCOTT SMITH
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  1                     MEMORANDUM OF POINTS AND AUTHORITIES

  2   I.    INTRODUCTION

  3         The Court is well versed in the facts of the case, as well as the law and motion

  4   which has preceded the trial in this matter. Defendant will point out a few salient facts

  5   and prior rulings.

  6         Plaintiff was arrested on July 21, 1998. Plaintiff was convicted on all counts tried

  7   to the jury on June 15, 1999. The convictions were affirmed by the California Court of

  8   Appeal on June 26, 2000. Fifteen years later, in February, 2015 plaintiff sought a writ

  9   of habeas corpus, which was granted on May 23, 2015. On October 5, 2016, plaintiff

 10   was declared factually innocent of the Teresa R. rape due to DNA testing. As to the

 11   attempt rapes of Edith G. and Karen P., and the failure to register as a sex offender

 12   investigated by the individual defendants Quijano and Smith, no DNA evidence

 13   cleared the plaintiff of those crimes.
 14         In opposing defendants’ motion in limine No. 1 for trifurcation last year (Doc.
 15   152 at p. 7 of 9), plaintiff argued that evidence of plaintiff’s innocence and
 16   incarceration should be introduced in the liability phase of the trial. (Plowden Decl.,
 17   Ex. 1) The Court denied this argument on October 3, 2018 (Doc. 158), granting
 18   defendants’ motion in limine. (Plowden Decl., Ex. 2)
 19         On April 15, 2019, the parties appeared before the Court at a status conference,
 20   and again the Court ruled that the subject of innocence would not be allowed during
 21   phase one of the trial.1
 22         For reasons unbeknownst to defendants, plaintiff wants to Court to reconsider its
 23   rulings and argue (now for a third time) for the introduction of evidence of plaintiff’s
 24   innocence in the liability phase of the trial. This motion must be denied.
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        A copy of the reporter’s transcript (“RT”) of the April 15, 2019 status conference is
      attached. (Ex. 3, Plowden Decl.) In that transcript, plaintiff conceded the subject of
 28   innocence will not come into phase one. The Court agreed, stating, “You’re not going
      to do that.”
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  1   II.   PLAINTIFF’S MOTION IN LIMINE NO. 1 TO INTRODUCE EVIDENCE

  2         OF INNOCENCE IN PHASE ONE OF THE TRIAL MUST BE DENIED

  3         a.   Proof of Innocence is Irrelevant to Phase One of the Trial.

  4         Plaintiff’s Fourteenth Amendment Due Process (Brady) claim in this case does

  5   not involve proof of plaintiff’s innocence or a reversal of plaintiff’s conviction.

  6         The elements of plaintiff’s claim are: 1. The defendant suppressed evidence that

  7   was favorable to the accused from the prosecutor and the defense; 2. The suppression

  8   harmed the accused; and 3. The defendant acted with deliberate indifference to an

  9   accused’s rights or for the truth in suppressing the evidence.

 10         These elements are set forth in Ninth Circuit Model Instruction 9.33A, which the

 11   parties are jointly requesting be given in this case. This is not a malicious prosecution

 12   case, wherein plaintiff needed to show a favorable result in order to make his claim.

 13         The harm in the claim is that plaintiff was convicted (found guilty). That is an
 14   uncontroverted fact in this case.
 15         In phase two (damages), plaintiff could argue his conviction was reversed and
 16   that DNA testing cleared him of one of the three sexual assault crimes. However, such
 17   evidence in phase one would unduly prejudice the defendants and confuse the jury.
 18   Under Federal Rule of Evidence 403, the evidence should be excluded.
 19         a.    Plaintiff’s Motion is an Impermissible Motion for Reconsideration
 20         In opposing defendants’ motion in limine No. 1 for trifurcation, plaintiff himself
 21   argued that evidence of plaintiff’s innocence and incarceration should be introduced in
 22   the liability phase of the trial. (Ex. 1 to Plowden Decl.)
 23         The Court rejected this argument on October 3, 2018 (Doc. 158, Ex. 2 to
 24   Plowden Decl.), in granting defendants’ motion in limine. The Court did not invite
 25   further briefing on the subject. There has been no change of law or fact warranting a
 26   motion for reconsideration (L.R. 7-18). The irony here is remarkable. When
 27   defendants sought reconsideration of the denial of their qualified immunity defense,
 28   plaintiff was up in arms, and sought (and obtained) sanctions from defense counsel for

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  1   an impermissible motion for reconsideration. Here, with no citation to a change in fact

  2   or law, plaintiff seeks reconsideration of the Court’s prior rulings.

  3         To make matters worse, on April 15, 2019, the parties appeared before the Court

  4   at a status conference, and again the Court ruled that the subject of innocence would

  5   not be allowed during phase one of the trial. Indeed, plaintiff’s counsel conceded the

  6   matter was already decided, and that innocence would not be introduced before the

  7   jury in phase one. (Ex. 3 (RT at p. 5), Plowden Decl.)

  8         The Court agreed, stating, “You’re not going to do that.” (Ex. 3, (RT at p. 5),

  9   Plowden Decl.) As such, the matter of innocence has already been repeatedly and

 10   sufficiently litigated.

 11   III. THE INTRODUCTION OF THE REVERSAL OF THE CONVICTION
 12         WOULD CONSTITUTE HEARSAY AND ITS PROBATIVE VALUE IS
 13         SUBSTANTIALLY OUTWEIGHED BY THE DANGER OF UNFAIR
 14         PREJUDICE.
 15         As set forth above, this is not a malicious prosecution case wherein plaintiff must
 16   show a favorable result was obtained, a necessary element of the claim. This denial of
 17   fair trial claim (Brady) does not require plaintiff to show his conviction was reversed,
 18   only that he was found guilty at trial (convicted). The reversal of his conviction is
 19   irrelevant to the liability phase (phase one) of the trial.
 20         The introduction of the reversal of the conviction would not only be irrelevant,
 21   but would also confuse the jury, and unfairly prejudice the defendants. Per Rule 403,
 22   the evidence should be excluded.
 23         The judgment of reversal plaintiff seeks to introduce is inadmissible hearsay.
 24   United States v. Sine, 493 F.3d 1021, 1036 (9th Cir 2007) (“A court judgment is
 25   hearsay to the extent it is offered to prove the truth of the matters asserted in the
 26   judgment.’)
 27         Plaintiff wants the jury in phase one to learn of the reasons for the reversal of the
 28   conviction. As the reversal was unrelated to any alleged Brady violation, the reasons

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  1   are irrelevant, unfairly prejudice defendants, and will confuse the jury. See, Carter v

  2   Burch, 34 F.3d 257, 265 (4th Cir. 1994) (excluding a state court judge’s grant of habeas

  3   corpus petition in a subsequent civil rights action because the report was inadmissible

  4   hearsay and because its probative value was substantially outweighed by the danger of

  5   unfair prejudice); Johnson v. Colt Indus. Operating Corp, 797 F.2d 1530, 1534 (10th

  6   Cir. 1986) (A judicial opinion as substantive evidence might confuse the jury, and

  7   presents “obvious dangers”); U.S. Steel, LLC v. Tieco Inc., 261 F.3d 1275, 1287 (11th

  8   Cir. 2001)(state judicial opinion inadmissible hearsay and unfairly prejudicial)

  9         A juror will be incapable of discerning the subtleties of a reversal of conviction

 10   for reasons unrelated to the conduct of the defendants. The District Attorney’s Office,

 11   a branch of the County government, which did not oppose the plaintiff’s habeas corpus

 12   petition, is not in privity with the City of Los Angeles, nor its police detectives on trial

 13   in this action. The defendants in this action face a claim relating to their conduct in the
 14   1994-2000 time period. Specifically, the allegation is that they failed to disclose
 15   unrelated sexual assault crime reports pertaining to unknown perpetrators with a
 16   similar appearance as plaintiff, which might have been used to dilute a “signature
 17   crime theory” posited by the prosecutor at plaintiff’s criminal trial. The 2015 reversal
 18   (due to DNA testing) unknown in 1994-2000, has no relevance in this case.
 19         Additionally, plaintiff’s conviction and time in custody involved more than just
 20   the crimes associated with the rape for which he was cleared by DNA testing. There
 21   were two sexual assaults and a failure to register as a sex offender (for a prior
 22   conviction of rape in 1992.) The reversal of conviction for those assault offenses
 23   would require introduction of hearsay and a “trial within a trial.”
 24         Per Rule 403, the evidence of the reversal (i.e. “innocence”) should be excluded.
 25   IV. CONCLUSION
 26         Plaintiff’s Motion in Limine No 1. is an unwarranted motion for reconsideration.
 27   The Court has already advised the parties, twice, that the subjects of innocence and
 28   reversal of the conviction will not be introduced in phase one of the trial.

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  1   For the reasons set forth above, the motion should be denied.

  2   Dated: May 20, 2019       MICHAEL N. FEUER, City Attorney
                                JAMES P. CLARK, Chief Deputy City Attorney
  3                             CORY M. BRENTE, Assistant City Attorney

  4                             By:    /s/ Geoffrey Plowden           .




                                 GEOFFREY PLOWDEN, Deputy City Attorney
  5
                                Attorneys for Defendants CITY OF LOS ANGELES,
  6                             LOS ANGELES POLICE DEPARTMENT,
                                MONICA QUIJANO, RICHARD TAMEZ and
  7                             SCOTT SMITH
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  1                     DECLARATION OF GEOFFREY PLOWDEN

  2     I, Geoffrey Plowden, declare the following to be true and correct:

  3         1.    I am an attorney at law, duly admitted to practice before the Court, and am

  4   counsel for defendants in the matter of Vargas v. City of Los Angeles. I am familiar

  5   with the file materials in this case, the underlying criminal prosecution of plaintiff. I

  6   am a former Deputy District Attorney, and have tried civil rights cases in the U.S.

  7   District Court, Central District for more than 18 years.

  8         2.    The introduction of a finding of factual innocence and the reversal of

  9   plaintiff’s underlying rape conviction will confuse the jury, cause undue consumption

 10   of time and unfairly prejudice the defendants at trial. Plaintiff’s conviction and time in

 11   custody involved more than just the crimes associated with the rape for which he was

 12   cleared by DNA testing. There were two sexual assaults and a failure to register as a

 13   sex offender (for a prior conviction of rape in 1992.) The reversal of conviction for
 14   those offenses would require introduction of hearsay and a “trial within a trial.” A
 15   juror will be incapable of discerning the subtleties of a reversal of conviction for
 16   reasons unrelated to the conduct of the defendants. The District Attorney’s Office, a
 17   branch of the County government, which did not oppose the plaintiff’s habeas corpus
 18   petition, is not in privity with the City of Los Angeles, nor its police detectives on trial
 19   in this action. The defendants in this action face a claim relating to their conduct in the
 20   1994-2000 time period. Specifically, the allegation is that they failed to disclose
 21   unrelated sexual assault crime reports pertaining to unknown perpetrators with a
 22   similar appearance as plaintiff, which might have been used to dilute a “signature
 23   crime theory” posited by the prosecutor at plaintiff’s criminal trial. The 2015 reversal
 24   (due to DNA testing) unknown in 1994-2000, has no relevance in this case. Plaintiff
 25   wants the jury in phase one to learn of the reasons for the reversal of the conviction.
 26   As the reversal was unrelated to any alleged Brady violation, the reasons are irrelevant,
 27   unfairly prejudice defendants, and will confuse the jury.
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 1        3.       In opposing defendants’ motion in limine No. 1 for trifurcation last year

 2   (Doc. 152 at p. 7 of 9), plaintiff argued that evidence of plaintiff’s innocence and

 3   incarceration should be introduced in the liability phase of the trial. A true and correct

 4   copy of that opposition (relevant portion bracketed) is attached hereto as Exhibit 1.

 5        4.       The Court denied this argument on October 3, 2018 (Doc. 158), granting

 6   defendants’ motion in limine. A true and correct copy of this Order is attached hereto

 7   as Exhibit 2.

 8        5.       On April 15, 2019, the parties appeared before the Court at a status

 9   conference, and again the Court ruled that the subject of innocence would not be

10   allowed during phase one of the trial. Indeed, plaintiff’s counsel conceded the matter

11   was already decided, and that innocence would not be introduced before the jury in

12   phase one. The Court agreed, stating, “You’re not going to do that.” A true and correct

13   copy of the reporter’s transcript of that status conference is attached as Exhibit 3.
14   (relevant portions bracket at p. 5)
15        I declare under the penalty of perjury under the laws of the United States that the
16   foregoing is true and correct. Executed this 20th day of May, 2019, at Los Angeles,
17   California.
18                                     /s/ Geoffrey Plowden
19                                ___________________________
                                        Geoffrey Plowden
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